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       EXHIBIT C
CONFIDENTIAL-SUBJECT  TO PROTECTIVE
          Case: 1:19-cv-02952       ORDERPage
                              Document        1
                                       #: 262-3 Filed: 09/29/21 Page 2 of 20 PageID #:10420
       From :     Ginny Hobson < ginnycarpentree@aol.com>
          To :    jhobsonra, carpentree .comjhobson@carpentree.com
                  bhobs on@carpentre c .combhobs on@ca rpe ntree .com
        Date :    1/13 /2016 12:20:14 AM
    Subject:      Re : POP art

  She and I spoke this weekend . Akianes dad is very very controlling and not cooperating well. She needs from us a projection
  of what we will order in the next 6 months and next year. Be conservative . We need to get this to her ASAP. Discuss with Bill
  and give numbers tomorrow.

  She will print a poster that has an 8 x10 image in it for $10.00 that we can have cut and then frame. She is doing this to
  sidestep Akianes dad and to help us out. It is within her license agreement and will not be a fine art print but that will be ok, it
  will be a good quality print.

  Please let me know the numbers asap and I will get these to her. Thanks!

  Ginny Hobson c
  ginnycarpentree@aol.com n


  -----Original Message----- LJ
  From: Jordan Hobson <jhobson@carpentree.com> LJ
  To : <ginnycarpentree@aol.com> <ginnycarpentree@aol.com>; Brad Hobson <bhobson@carpentree.com> L
  Sent: Tue, Jan 12, 2016 11 :39 am _J
  Subject: Fwd: POP art □

  Ginny,
  Did carol respond to your email requesting lower pricing? J

  ---------- Forwarded message---------- □
  From: Brad Hobson <bhobson@carpentree.com> L
  Date: Tuesday, January 12, 2016 □
  Subject: POP art J
  To: "llnda@art-soulworks.com" <llnda@art-soulworks.com>C
  Cc: Jordan Hobson <jhobson@carpentree.com>n


  Hi Linda, How are you coming on our pricing and sizes for the 2016 Prince of peace art? We would like to get this on order. If
  you could please advise that will be great.

  Thanks as always,

  Brad Hobson
  Production Manager
  Office : 918-582-3600 x 508
  DID : 918-619-9454
  bhobson@carpentree.com

  On Tue, Dec 29, 2015 at 2:07 PM , linda@art-soulworks.com <linda@art-soulworks.com> wrote: _J
     Hi Brad,

     Those are the correct sizes . I will send you the Item number and cost later this week .

     Thank you and Happy New Year .

     Thanks,
     Linda




            CARPENTREE00793                                   11/13/2019


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HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER Page 1
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       From :     Jordan Hobson <jhobson@carpentree.com>
           To :   Ginny Hobsonginnycarpentree@aol.com
       Date :     1/13 /2016 7:14:54 PM
    Subject:      Re: POP and Akianes dad


  Ginny,
  As you and I dis cussed this morning all communication has been delivered to our accounts , including
  family chris tian. Ttold them la s t we e k they must adhere to this, so hopefully they will a bid e. Will talk
  with Shannon and dawn again to make sure we do everything we can to adhere to these silly
  requirements , but they must understand we cannot police everyone. L

  On Wednesday, January 13 , 2016 , Ginny Hobson <ginnycarpentree@aol.com> wrote :n
     Akiane's dad called Carol last week and said there were at least 20 different sources for Carpentree POP framed art
     online. He wants this shut down. Carol explained that CBD and Amazon were the only ones allowed to sell their
     remaining inventory, but the others were not. Family Christian was one of the sites. Inform Family asap that it should say,
     'available for in store purchase'.

     Please have Shannon research this and notify the independent stores that we have been instructed that these may not
     be offered online going forward, we are sorry any inconvenience but the artists family has set these guidelines etc, that
     they can be still featured online but that they need to say 'for in store purchase only' .
     She said that Akiane's father will not allow this and could pull the prints if we do not abide by his guidelines.

     Thanks. J

     Ginny Hobson ,
     ginnycarpentree@aol .com




  -- LJ
  Jordan Hobson
  VP Sales/Marketing
  Carpentree, Inc.
  Direct I 918.971 .6425
  Main I 1.800.736.2787
  Fax I 918.587.4329
  Jhobson@carpentree.com
  www.carpentree.com
  http://about.me/jhobson

   ~
  "Be Phe nomenal or be forgotteu" - Eiic Thomas




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